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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ROTHSCHILD DIGITAL                  )
CONFIRMATION LLC,                   )
                                    )
            Plaintiff               )
                                    )             Case No. 17-CV-11706-NMG
v.                                  )
                                    )
REPSLY, INC.,                       )
                                    )
            Defendants              )
____________________________________)

                               NOTICE OF APPEARANCE

       Please enter the appearance of Heather B. Repicky of the law firm of Nutter McClennen

& Fish LLP, Seaport West, 155 Seaport Boulevard, Boston, MA 02210-2604, as counsel for

Defendant Repsly, Inc.


                                           REPSLY, INC.
                                           By its attorneys,

                                           /s/ Heather B. Repicky     ___
                                           Heather B. Repicky (BBO# 663347)
                                           hrepicky@nutter.com
                                           Micah W. Miller (BBO# 676189)
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                                           155 Seaport Blvd.
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                                           617-439-2000
September 27, 2017
            Case 1:17-cv-11706-NMG Document 9 Filed 09/27/17 Page 2 of 2




                                CERTIFICATE OF SERVICE


I hereby certify that a copy of the foregoing document was filed through the electronic filing
system and served electronically to the registered participants as identified on the Notice of
Electronic Filing.

                                             /s/ Heather B. Repicky____
                                             Heather B. Repicky



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